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                             United States District Court
                                       for the
                             Southern District of Florida

   Maurice Symonette and others,           )
   Plaintiffs,                             )
                                           )
   v.                                      )
                                             Civil Action No. 18-21782-Civ-Scola
                                           )
   JP Morgan Chase Bank, and               )
   others, Defendants.                     )

                            Order on Motions to Dismiss
         This matter is before the Court on Defendants’ Motions to Dismiss (ECF
  Nos. 20, 25). This case is yet another lawsuit brought by Plaintiffs Maurice
  Symonette and his associates to prevent a foreclosure in state court. See
  Symonette v. Aurora Loan Services, LLC, No. 13-24142, 2014 WL 11380946 (S.D.
  Fla. March 1, 2014) (Huck, J.). By Defendants’ count, this is the ninth case of
  its kind. (ECF No. 20 at 2.) As a result of Plaintiffs’ litigation tactics, they have
  been prevented from filing certain documents with the state court. Judge Isicoff,
  a bankruptcy judge in the Southern District of Florida, barred Plaintiffs from
  filing any further bankruptcy actions in any district in the United States for a
  period of five years. (Id.) Plaintiffs have even named as a defendant Judge
  Barbara Areces, a Miami-Dade County Circuit Court Judge, in an effort to
  invalidate her order in the underlying foreclosure case. (ECF No. 25.)
         Here, the Plaintiffs once again seek relief from a foreclosure judgment
  entered against them in the Circuit Court of Miami-Dade County in July 2009.
  Defendants JPMorgan Chase, Washington Mutual Bank, and Judge Areces
  moved to dismiss the complaint. (ECF Nos. 20, 25.) The Plaintiffs have failed to
  respond to either motion to dismiss or otherwise move for an extension of time
  to respond. Therefore, pursuant to Local Rule 7.1(c), the motions to dismiss (ECF
  Nos. 20, 25) are granted by default. Furthermore, upon review of JP Morgan
  Chase’s motion to dismiss and Judge Areces’s motion to dismiss and the history
  of Plaintiffs’ abusive litigation tactics, the court dismisses the case with
  prejudice. Symonette, 2014 WL 11380946 at *1.
         The Court directs the Clerk to close this case.
         Done and ordered at Miami, Florida on April 5, 2019.

                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
